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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                        CRIMINAL FILE NO.
        v.                              1:14-CR-130-1-TWT
 RASHON BOHANNON,
   Defendant.


                                   ORDER

      This is a criminal action.   It is before the Court on the Report and

Recommendation [Doc. 272] of the Magistrate Judge recommending denying the

Defendant’s pro se Motion to Vacate Sentence [Doc. 263]. The Court approves and

adopts the Report and Recommendation as the judgment of the Court. The

Defendant’s pro se Motion to Vacate Sentence [Doc. 263] is DENIED.

      SO ORDERED, this 20 day of November, 2017.



                              /s/Thomas W. Thrash
                              THOMAS W. THRASH, JR.
                              United States District Judge
